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                         THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



Dean Obeidallah,

                      Plaintiff,                   :      Case No. 2:17-cv-720
                       vs                          :      Chief Judge Sargus
Anglin, et al.,                                    :      Magistrate Judge Deavers

                      Defendants.


                                    ENTRY OF DEFAULT


It appears the Defendant, Moonbase Holdings, LLC, is in default, having failed to plead or

otherwise defend in this cause as required by law. Therefore, in accordance with Rule 55 (a) of

the Federal Rules of Civil Procedure, Default is hereby entered against this Defendant on this

29th day of January 2018.



                                                   Richard W. Nagel, Clerk
                                                   United States District Court
                                                   Southern District of Ohio


                                                   By: /s/Keisha Parks-Towns
                                                       Keisha Parks-Towns, Deputy Clerk
